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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                            Case Number: 09-20523-2
v.                                                          Honorable Thomas L. Ludington

MICHAEL ROBERT SZEMITES,

                  Defendant.
_______________________________________/

     ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
      DEFENDANT’S PLEA OF GUILTY AS TO COUNT ONE OF THE FIRST
  SUPERSEDING INDICTMENT, AND TAKING THE RULE 11 PLEA AGREEMENT
                        UNDER ADVISEMENT

       A plea hearing was conducted on February 25, 2011, by United States Magistrate Judge

Charles E. Binder pursuant to the defendant’s consent. The magistrate judge issued his report on

February 28, 2011, recommending that this Court accept the defendant’s plea of guilty as to Count

One the first superseding indictment. As of today’s date, no party has filed any objections to the

magistrate judge’s report and recommendation. The election to not file objections to the magistrate

judge’s report releases the Court from its duty to independently review the record. Thomas v. Arn,

474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation [Dkt.

#148] is ADOPTED.

       It is further ORDERED that the defendant’s plea of guilty as to Count One the first

superseding indictment is ACCEPTED, and the Rule 11 Plea Agreement [Dkt. #147] is taken

UNDER ADVISEMENT.

                                             s/Thomas L. Ludington
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                                                      THOMAS L. LUDINGTON
                                                      United States District Judge
Dated: April 6, 2011



                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on April 6, 2011.
                                                         s/Tracy A. Jacobs
                                                         TRACY A. JACOBS




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